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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
                                   )     CRIMINAL ACTION NO.
    v.                             )        2:11cr191-MHT
                                   )             (WO)
BRIAN JAVORIS WALKER               )


                        OPINION AND ORDER

    This cause is before the court on the motion to

continue, filed by defendant Brian Javoris Walker on

March 26, 2012.      The case is currently set for trial on

May 7, 2012.     For the reasons set forth below, the court

finds that the trial should be continued until June 4,

2012, pursuant to 18 U.S.C. § 3161(h)(7)(A).

    While the granting of a continuance is left to the

sound discretion of the trial judge, see United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act.

The Act provides, in part, as follows:

          “In any case in which a plea of not
          guilty is entered, the trial of a
          defendant charged in an information or
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          indictment with the commission of an
          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs.”

18 U.S.C. § 3161(c)(1).         However, the Act excludes from

the 70-day period any continuance based on “findings that

the ends of justice served by taking such action outweigh

the best interest of the public and the defendant in a

speedy trial.”     Id. § 3161(h)(7)(A).           In granting such a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance “would deny

counsel   for   the    defendant       or   the    attorney   for       the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”     Id. § 3161(h)(7)(B)(iv).

    This court finds that the ends of justice served by

continuing this trial outweigh the best interest of the

public and Walker in a speedy trial.              Defense counsel has



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a previously scheduled commitment directly preceding the

trial in this case.             Without a continuance, defense

counsel will have insufficient opportunity to prepare

fully   Walker’s      defense.          The    need     for   adequate

representation therefore outweighs any interest in a

speedy trial.



                                  ***

    Accordingly,      it   is    ORDERED      that    defendant   Brian

Javoris Walker’s motion to continue (doc. no. 170) is

granted and that his trial and jury selection, now set

for May 7, 2012, are continued until June 4, 2012, at

10:00 a.m., in the Frank M. Johnson Jr. United States

Courthouse Complex, Courtroom 2FMJ, One Church Street,

Montgomery, Alabama.

    DONE, this the 27th day of March, 2012.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
